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                    EXHIBIT C
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M I S S O U R I             L AW Y E R S                 M E D I A




Billing
Rates                                                                  2019
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                   Welcome to Billing Rates 2019
  T
         his year’s edition features an expansive set of data. We                   ■ METHODOLOGY
         found rates for 213 Missouri-based attorneys and 77                           Missouri Lawyers Media gathers hourly rates from fee applications
         Missouri staff members. We also feature rates for 18 law-                  filed with courts within the past 12 months. Rate information from
  yers and staff who work at out-of-state offices of Missouri or                    courts generally came from bankruptcy cases, class-action lawsuits and
  metro-area firms. For more rates of out-of-state attorneys who                    cases in which the prevailing side was able to request its legal costs un-
  did work in Missouri in the last year, please visit us online at                  der a fee-shifting statute, such as in employment and civil-rights cases.
  molawyersmedia.com.                                                               Some rates also came from agreements with public entities for legal ad-
                                                                                    vice on specific projects.
    A large portion of that data is thanks to a massive class-action
  settlement with Syngenta regarding its use of genetically modi-          Where possible, we use the attorney’s standard or customary rates,
  fied corn. A federal judge gave final approval late                    rather than the rate the court applied or discounted rates offered to a
                                                                                            particular client. Rates can vary according to the case
  last year to a $1.51 billion class-wide settlement
                                                                                            or client, so one listed rate for an attorney might not
  — the largest Missouri case of 2018 as tracked by      HOURLY RATES FOR                   apply in other cases.
  Missouri Lawyers Media.                                213 Missouri attorneys               The rates are a sampling only. Though drawn from
    A third of that settlement went to fees for hun-     77 Missouri staff                  recent court filings, some fee requests were for work
  dreds of lawyers across the country who aided in                                          performed in previous years, so rates might have
                                                         18 Out-of-state attorneys
  the litigation. The filings in support of that fee ap-                                    changed in the meantime. Wherever possible, we
  plication also reveal the biggest hourly fees in this                                     have used the most recent available rates.
  year’s Billing Rates edition — $865 an hour for                          Attorneys are listed with the firm or organization where they worked
  the partners at Stueve Siegel Hanson and Gray, Ritter & Graham         at the time the fee request was made. They might have changed firms
  who led the case.                                                      or been promoted since then, or the firm might have changed names or
    The median hourly rate for Missouri lawyers as a whole was                      ceased to exist.
  $370 an hour, up from the $318 median rate we reported in 2018.                     Information on titles, practice specialties and office locations comes
  Outside of the state’s two metropolitan areas, the median re-                     primarily from fee applications, supplemented with information from
  mained at $250.                                                                   firm websites. Practice listings typically describe the type of case for
                                                                                    which the fee was incurred, which might not be the attorney’s main area
    In Kansas City, the median rate was $405 an hour, up from $350                  of practice.
  the prior year. The median partner charged $475 an hour, while
                                                                                      Attorneys and staff in offices near the metropolitan St. Louis area in
  the median associate rate was $345. In St. Louis, the median rate
                                                                                    Illinois and the metropolitan Kansas City area in Kansas were counted
  was $343, with the median partner charging $390 and the median                    as in-state rates. If it was not clear where staff members were located, we
  associate charging $298. St. Louis figures were calculated from a                 generally list them as being in the location of the firm’s headquarters.
  pool of 96 attorneys, while the Kansas City figures were from a
                                                                                      Reporters Scott Lauck, Jessica Shumaker and Nicholas Phillips, and freelance
  pool of 178 lawyers.                                                                                          researcher Jennie Goodman researched the listings.




Lawyer’s fees prompt fight under Sunshine Law
BY SCOTT LAUCK                             half job, Hatley estimated, would       given some lawyers hope.                 the Sunshine Law.” A dissent in that
slauck@molawyersmedia.com
                                           come to about $4,200 at $373.50 per       In February, Jackson County            case said such a stringent defini-
  A media organization in Kansas           hour, the rate he charged the coun-     Circuit Judge S. Margene Burnett         tion made a knowing violation the
City is in the midst of a Sunshine         ty. (Hatley’s standard rate, accord-    ordered the city of Raytown to pay       “functional equivalent” of a pur-
Law fight with Clay County after an        ing to the court filing, was $415 an    $4,000 in civil penalties and more
attempt to see how much an attor-                                                                                           poseful violation.
                                           hour.)                                  than $38,000 in attorneys’ fees af-        The Jackson County ruling came
ney was charging the county result-          Rhodes, in a letter responding to     ter it refused to release records con-
ed in a large legal bill.                                                                                                   a month after the Court of Appeals
                                           Hatley, called that an “inflated” es-   cerning an intersection where a fa-
  “If this is not ‘Alice in Wonderland,’                                                                                    Western District affirmed a differ-
                                           timate meant to hide the billing en-    tal vehicle crash occurred.
I don’t know what it is,” said Bernie                                                                                       ent judge’s ruling last year that the
                                           tries from disclosure. To illustrate,     The city had cited the informa-
Rhodes of Lathrop Gage, an at-             Rhodes said he was able to review a     tion’s potential use for litigation      Cole County Prosecuting Attorney
torney for The Kansas City Star.           similar stack of billing documents      against the city, but Burnett found      had violated the law by failing to
“Where does the rabbit hole end?”          “during a single episode of NCIS:       the refusal constituted a knowing        turn over records for a drug task
  Cypress Media LLC, which op-             New Orleans (including fast-for-        and purposeful violation of the          force. That case involved a $12,000
erates The Star, sued Clay County          warding through the commercials).”      Sunshine Law. The city, she wrote,       civil penalty and an award of
in May alleging the county had vi-           Rhodes charges The Star a rate of     had tried to use the law as a “shield    $14,000 in attorneys’ fees.
olated the Sunshine Law by trying          $425 per hour, discounted from his      to hide behind rather than shed            Rhodes said despite those vic-
to charge The Star $4,200 to fulfill       usual $610, he said. The total cost     light on potentially inappropriate       tories, he still advises clients to be
a request for records. A reporter for      for his review was $382.50.             government activity.”                    aware that they might get stuck with
The Star, curious about the coun-            The lawsuit has been delayed in         Plaintiffs who are wrongfully de-      the bill. As a result, he said, most are
ty’s contract for outside legal work       Clay County Circuit Court while         nied access to public records may        limiting Sunshine Law suits to only
with Spencer Fane, had requested           the Supreme Court appointed an          recover their attorneys’ fees at the
                                                                                                                            those situations that are plainly il-
copies of itemized billing state-          outside judge to handle the mat-        judge’s discretion if the agency de-
ments and invoices.                                                                                                         legal and serve an important point.
                                           ter. The county hasn’t formally re-     nial was “knowing,” and the fee
  W. Joseph Hatley, a Spencer Fane                                                                                            “I’m happy to ask for fees, but they
                                           sponded to the suit. Hatley didn’t      award is mandatory if the violation
partner representing the county,           respond to a request for comment.       is “purposeful.” But in 2016, the        should be prepared to go forward
said in a letter to The Star’s attor-        If The Star ultimately prevails, it   Missouri Supreme Court held in           with the lawsuit without assuming
ney that it would take him 15 min-         might be able to recover its attor-     Laut v. City of Arnold that a know-      they’re going to get their fees paid,”
utes per page to review the 45 pages       neys’ fees. Until recently, actually    ing violation “requires proof that       he said.
of his own bills for any privileged        recovering such fees seemed a dim       the public entity knew that its fail-      The case is Cypress Media LLC v.
material. The resulting day-and-a-         possibility. But recent rulings have    ure to produce the report violated       Clay County, 19CY-CV05332.
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Judge: Watch for ‘red flags’ in fee requests
BY SCOTT LAUCK                              “Once there’s a red flag, there’s         ing more than 24 hours in a day,        she said. “If you’re getting $500 an
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                                          much more scrutiny,” she said. “For         there’s something there going on        hour, and you’re doing very, very
  If you’ve ever thought submitting
                                          the most part, I look at the fees, I        that doesn’t make sense,” she said.     basic research in an area you should
an application for attorneys’ fee is
                                          have a gut reaction to them, I com-           Laughrey said she requires fee ap-    know about, that’s probably exces-
a tedious and time-consuming job,
                                          pare them to other fees I’ve awarded        plications to be submitted in search-   sive, given that rate.”
think of the judge on the receiving
                                          in similar kinds of cases, and it’s not     able form so her staff can convert        In contrast, Laughrey pointed to
end of your request.
                                          a complicated process. But when it          the contents to a spreadsheet for       a groundbreaking class-action law-
  “We want to be lawyers, not ac-
                                          is a complicated process, it’s much         easy analysis.                          suit involving recordkeeping fees
countants,” said Judge Nanette K.
                                          more time-consuming.”                         In November 2018, Laughrey pre-       charged to a 401(k) plan. The case,
Laughrey.
                                            Carr agreed, saying attorneys             sided over a particularly testy fee     which has gone on for more than 12
  Laughrey, a senior U.S. district
                                          should avoid putting the judge              fight in a Missouri case that went      years, reached a $55 million prelim-
judge for the Western District of
Missouri, gave her candid thoughts        in the position of acting like a            to the U.S. Supreme Court. Trinity      inary settlement earlier this year.
on awarding attorneys’ fees in fed-       cost-conscious client demanding to          Lutheran Church prevailed in a re-        Although the fee applications
eral litigation during a May 30 CLE       know what every charge was for.             ligious-discrimination suit after the   hadn’t been submitted at the time
program organized by the National           “I’ll be quite blunt: It’s the one        state of Missouri refused to let the    Laughrey spoke, she said she would
Association of Legal Fee Analysis.        part of my job I don’t look forward         church’s daycare participate in a       likely consider such factors as the
Joined by James G. Carr, a senior         to a whole lot,” Carr said.                 program to use recycled tire scraps     complexity and longevity of the
judge for the Northern District of          Both judges said they dislike chal-       to resurface its playground.            case, as well as the fact that it was
Ohio, Laughrey stressed the impor-        lenging lawyers on their fee applica-         After prevailing in the high          the first case to go to a trial using
tance of crafting a solid and reason-     tions, which can feel like a challenge      court, the attorneys for the church     what was then a little-used provi-
able fee request.                         to the lawyers’ integrity and skill-        asked for more than $890,000 in         sion of the Employee Retirement
  “It’s worth your time and doing         fulness. Both also said they prefer         fees. Laughrey approved less half       Income Security Act.
a good job in front of the district       to reduce either the hourly rate or         of that, with a final award of about      Laughrey noted that, while there
court if you want to be successful        the number of hours awarded rath-           $434,000.                               are good First Amendment lawyers
on your fee application or you want       er than deny an award outright.               The church primarily was rep-         across the country, the St. Louis
to defeat a fee application,” she said.     Still, there are some red flags they      resented by Alliance Defending          law firm of Schlichter Bogard &
  By that, Laughrey didn’t neces-         watch for. Laughrey said she some-          Freedom, a Christian organization       Denton became national experts in
sarily mean that it should be as de-      times will see applications in which        that handles religious-freedom cas-     ERISA litigation.
tailed as possible, nor that it should    a lawyer has claimed more than 24           es. Laughrey said the attorneys had       “They certainly seem to have
shoot for the moon in an attempt          hours of time in a single day. That         excessive hours for basic research      earned their money,” she said.
to get the biggest award possible.        seemingly impossible outcome can            and case preparation, and that some       The law firm subsequently has
As a long-sitting judge in Missouri       be a product of the lawyers’ mini-          lawyers asked for fees that were out    submitted a request for $18.3 mil-
who often has watched the case            mum increment of time — the task            of line for what was ultimately a       lion in fees, constituting a third of
unfold from the time it was filed,        took only a minute, but the lawyer          Missouri case.                          the settlement fund. Laughrey is
Laughrey said she typically makes         tracks his or her time in 10ths of            “There’s a real relationship be-      scheduled to consider the applica-
a “gut call” as to whether the fee re-    an hour.                                    tween the hourly rate and what’s an     tion at the settlement’s final hearing
quest makes sense.                          “If the judge sees that you’re work-      excessive fee or excessive billing,”    on Aug. 13.



 ATTORNEY RATE RANGES
                                                                                                                                      OUTSTATE
$1,000                      ST. LOUIS                                     KANSAS CITY                          MISSOURI               MISSOURI
                                                                                                                                                                 SUPPORT
                                                                                                                                                                  STAFF*

                   $865         $865                                                                                $865
                                                                  $865          $865


 $800




 $600
                                              $565
                                                                              PARTNERS                                                     $550
                                                                               MEDIAN           $495
                                                                                RATE:
                               PARTNERS                          MEDIAN         $475
                                MEDIAN                            RATE:
                                                                                              ASSOCIATES           MEDIAN                                            $425
                                 RATE:                            $405                         MEDIAN               RATE:
 $400             MEDIAN
                                 $390                                                                               $370
                   RATE:                    ASSOCIATES                                          RATE:
                   $343                      MEDIAN                                             $345
                                              RATE:
                                               $298                                                                                      MEDIAN
                                                                                                                                          RATE:
                                                                                                                                          $250
                                                                                                                                                                    MEDIAN
 $200                                                                                           $225
                                                                                                                                                                     RATE:
                                                                                                                                                                     $175
                                              $185                $195              $195
                   $160         $160                                                                                $160                   $165



                                                                                                                                                                      $80
     0
                                                                                                                               *For Missouri-based firms; may be in other locations
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 HIGHEST MISSOURI RATES
RANK          FIRM                                           HOURLY RATE          NAME                          TITLE                      CITY                        PRACTICE
1             Gray, Ritter & Graham                          $865                 Don Downing                   Director/Shareholder       St. Louis                   Class Action/MDL
1             Stueve Siegel Hanson                           $865                 Norman Siegel                 Partner                    Kansas City                 Class Action/MDL
1             Stueve Siegel Hanson                           $865                 Patrick Stueve                Partner                    Kansas City                 Class Action/MDL
4             Holland Law Firm                               $850                 Eric D. Holland Sr.           Partner                    St. Louis                   Class Action/MDL
5             Gray, Ritter & Graham                          $825                 Gretchen Garrison             Principal                  St. Louis                   Class Action/MDL
5             Stueve Siegel Hanson                           $825                 Steve Six                     Partner                    Kansas City                 Class Action/MDL
7             Shook, Hardy & Bacon                           $770                 Stan Sexton                   Partner                    Kansas City                 Public Interest Class Action
8             Stinson Leonard Street                         $730                 Daniel Bukovac                Partner                    Kansas City                 Class Action/MDL
9             Shamberg, Johnson & Bergman                    $725                 Lynn Johnson                  Partner                    Kansas City                 Class Action/MDL
9             Stueve Siegel Hanson                           $725                 Rachel Schwartz               Partner                    Kansas City                 Class Action/MDL
9             Walters Bender Strohbehn & Vaughan             $725                 Thomas Bender                 Partner                    Kansas City                 Class Action/MDL
12            Gray, Ritter & Graham                          $695                 Jason Sapp                    Partner                    St. Louis                   Class Action/MDL
12            Stueve Siegel Hanson                           $695                 Bradley Wilders               Partner                    Kansas City                 Class Action/MDL
14            Shook, Hardy & Bacon                           $680                 Andrew Carpenter              Partner                    Kansas City                 Public Interest Class Action
15            Miller Schirger                                $675                 John Schirger                 Partner                    Kansas City                 Class Action/MDL
15            Miller Schirger                                $675                 Matthew Lytle                 Partner                    Kansas City                 Class Action/MDL
15            Paul LLP                                       $675                 John Cracken                  Of Counsel                 Kansas City                 Class Action/MDL
18            Paul LLP                                       $650                 Rick Paul                     Partner                    Kansas City                 Class Action/MDL
19            Armstrong Teasdale                             $645                 Scott Hunt                    Partner                    St. Louis                   Bankruptcy
19            Armstrong Teasdale                             $645                 William M. Corrigan Jr.       Partner                    St. Louis                   Breach of Contract
19            Thompson Coburn                                $645                 Mark Bossi                    Partner                    St. Louis                   Bankruptcy


IN-STATE                                                                                                IN-STATE
RATE / NAME                     TITLE          CITY             PRACTICE AREA           YEAR            RATE / NAME                TITLE               CITY                PRACTICE AREA          YEAR
HOUR                                                                                                    HOUR
ACCESS DISABILITY                                                                                       BROWN & WATKINS
$202   David D. Camp            Partner        St. Louis        Social Security         2019            $550   C. Jason Brown      Partner             Gower               Class Action           2019
                                                                Disability                              $550   Jayson Watkins      Partner             Gower               Class Action           2019
AFFINITY LAW GROUP                                                                                      $100   N/A                 Paralegal           Gower               Class Action           2019
$315   J. Talbot Sant Jr.       Of Counsel     St. Louis        Bankruptcy              2019            CARMODY MACDONALD
ALLIANCE DEFENDING FREEDOM                                                                              $395   Robert E. Eggmann Principal             St. Louis           Bankruptcy             2019
$495   Erik Stanley             Senior         Leawood,         First Amendment         2018            $385   Spencer Desai       Partner             St. Louis           Bankruptcy             2019
                                Counsel        Kansas           Litigation
                                                                                                        COVER & HILTON
$450   Joel Oster               Senior         Leawood,         First Amendment         2018
                                Counsel        Kansas           Litigation                              $200   Cary V. Cover       Partner             Clinton             Receivership           2019

ARMSTRONG TEASDALE                                                                                      DANNA MCKITRICK

$645   Scott Hunt               Partner        St. Louis        Bankruptcy              2019            $385   A. Thomas           Principal           St. Louis           Bankruptcy             2019
                                                                                                               DeWoskin
$645   William M.               Partner        St. Louis        Breach of Contract      2019
       Corrigan Jr.                                                                                     DAVID SCHROEDER LAW OFFICE
$605   David Going              Partner        St. Louis        Bankruptcy              2019            $300   David Schroeder     Attorney            Springfield         Bankruptcy             2019
$605   Richard Engel Jr.        Partner        St. Louis        Bankruptcy              2019
                                                                                                        DAVIS GEORGE MOOK
$485   Jeffrey L. Schultz       Partner        St. Louis        Breach of Contract      2019
                                                                                                        $575   Tracey F. George    Partner             Kansas City         Class Action           2019
$455   Scott Jansen             Partner        St. Louis        Bankruptcy              2019
$425   Eric Walter              Partner        St. Louis        Breach of Contract      2019            DENNIS W. FOX & ASSOCIATES
$325   Ben Musholt              Associate      Jefferson City   Bankruptcy              2019            $201   Jennifer Van        Attorney            St. Louis           Social Security        2019
$325   Erin Edelman             Associate      St. Louis        Bankruptcy              2019                   Fossen                                                      Disability
$325   John Willard             Associate      St. Louis        Bankruptcy              2019
                                                                                                        DOBSON, GOLDBERG, BERNS & RICH
$325   Lucas Pendry             Associate      St. Louis        Breach of Contract      2019
                                                                                                        $450   Johnathan C. Berns Partner              St. Louis           Employment             2018
$295   John Moore               Associate      St. Louis        Bankruptcy              2019
$275   Patricia Beckerle        Associate      St. Louis        Bankruptcy              2019            FISHER PATTERSON SAYLER & SMITH
$260   Han Liu                  Associate      St. Louis        Bankruptcy              2019            $160   Lawrence Pratt      Partner             St. Louis           Litigation             2019
$215   Theresa Ritter           Paralegal      St. Louis        Bankruptcy              2019            FOULSTON SIEFKIN
$180   Brandi Vogt              Paralegal      St. Louis        Bankruptcy              2019            $525   Scott Nehrbass      Partner             Kansas City,        ERISA Class Action     2018
$150   Barbara Bathe            Specialist     St. Louis        Bankruptcy              2019                                                           Kansas
$150   Julia Renaud             Specialist     St. Louis        Bankruptcy              2019            $415   J. Steven Massoni   Special             Kansas City,        ERISA Class Action     2018
$125   Susan Williams-          Paralegal      Kansas City      Bankruptcy              2019                                       Counsel             Kansas
       Umstead                                                                                          $300   Sara Otto           Associate           Kansas City,        ERISA Class Action     2018
                                                                                                                                                       Kansas
BARRY S. GINSBURG, ATTORNEY AT LAW
$275   Barry S. Ginsburg        Attorney       St. Louis        Breach of Contract      2018            FREDRICH J. CRUSE, ATTORNEY AT LAW
                                                                                                        $225   Fredrich Cruse      Attorney            Hannibal            Bankruptcy             2019
BRATCHER GOCKEL LAW                                                                                     $80    Bobbi Daughtery     Paralegal           Hannibal            Bankruptcy             2019
$500   Lynne Bratcher           Partner        Kansas City      Employment              2018
$500   Marie Gockel             Partner        Kansas City      Employment              2018            FREEDOM CENTER OF MISSOURI

$150   Mike Bell                Paralegal      Kansas City      Employment              2018            $340   Dave Roland         Attorney            Mexico              Sunshine Law           2019

BROWN & RUPRECHT                                                                                        GHIO LAW FIRM

$300   Frank Wendt              Partner        Kansas City      Business Litigation     2018            $400   Matt Ghio           Partner             St. Louis           Employment             2018

$195   Kurt S. Brack            Partner        Kansas City      Business Litigation     2018            GOLDSTEIN & PRESSMAN
$85    N/A                      Paralegal      Kansas City      Business Litigation     2018            $325   Norman Pressman     Member              St. Louis           Bankruptcy             2019
                                                                                                        $225   Robert              Member              St. Louis           Bankruptcy             2019
                                                                                                               Breidenbach
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IN-STATE                                                                                     IN-STATE
RATE / NAME                  TITLE           CITY               PRACTICE AREA         YEAR   RATE / NAME                 TITLE         CITY           PRACTICE AREA       YEAR
HOUR                                                                                         HOUR
GORNY LAW FIRM                                                                               JENKINS & KLING
$600   Steve Gorny           Founding        Kansas City        Sunshine Law          2019   $245   Nancy Stokley        Partner       St. Louis      Banking             2019
                             Member                                                                 Martin
$350   Chris Dandurand       Attorney        Kansas City        Sunshine Law          2019
                                                                                             JOHN LENTELL, ATTORNEY AT LAW
GRANT, MILLER & SMITH                                                                        $200   John L. Lentell      Partner       Leawood,       Bankruptcy          2019
$350   William Grant         Partner         St. Louis          Family Law            2019                                             Kansas

GRAVES GARRETT                                                                               JONATHAN STERNBERG ATTORNEY PC

$575   Todd P. Graves        Partner         Kansas City        Election Law          2018   $450   Jonathan             Partner       Kansas City    Employment          2019
                                                                                                    Sternberg
$460   Edward D. Greim       Partner         Kansas City        Election Law          2018
$305   Alan T. Simpson       Associate       Kansas City        Election Law          2018   KODNER WATKINS
$175   Nichole E. Kruger     Paralegal       Kansas City        Election Law          2018   $320   Albert Watkins       Partner       St. Louis      Litigation          2019

GRAY, RITTER & GRAHAM                                                                        LATHROP GAGE
$865   Don Downing           Director/       St. Louis          Class Action/MDL      2019   $610   Bernard J. Rhodes    Partner       Kansas City    Sunshine Law        2019
                             Shareholder
                                                                                             LAW OFFICE OF BORIS E. GRAYPEL
$825   Gretchen Garrison     Principal       St. Louis          Class Action/MDL      2019
                                                                                             $300   Boris Graypel        Partner       St. Louis      Consumer            2019
$695   Jason Sapp            Partner         St. Louis          Class Action/MDL      2019
                                                                                                                                                      Protection
$565   Kaitlin Bridges       Associate       St. Louis          Class Action/MDL      2019
$400   Cort VanOstran        Associate       St. Louis          Class Action/MDL      2019   LAW OFFICE OF CHRISTOPHER JONES
$330   Jack Downing          Associate       St. Louis          Class Action/MDL      2019   $300   Christopher Jones    Partner       Lee's Summit   Slander of Title    2018
                                                                                                                                                      Action
$295   Jackie Statz          Paralegal       St. Louis          Class Action/MDL      2019
$295   Judy Stinson          Paralegal       St. Louis          Class Action/MDL      2019   LAW OFFICE OF MARK A. BUCHANAN
$225   Charles Fasterling    Paralegal       St. Louis          Class Action/MDL      2019   $450   Mark Buchanan        Partner       Kansas City    Employment          2019
$175   Cameron Roark         Law Clerk       St. Louis          Class Action/MDL      2019
                                                                                             LUNCEFORD LAW FIRM
HARLAN STILL & KOCH                                                                          $475   David A. Lunceford   Partner       Lee's Summit   Employment          2018
$207   Frank Koch            Partner         Columbia           Social Security       2019   $275   Rachel Rutter        Associate     Lee's Summit   Employment          2018
                                                                Disability
                                                                                             $275   Taylor Spooner       Associate     Lee's Summit   Employment          2018
                                                                                                    Myers
HEPLERBROOM
                                                                                             $100   Bailey Wright        Paralegal     Lee's Summit   Employment          2018
$360   Steven M. Wallace     Partner         Edwardsville,      Bankruptcy            2019
                                             Illinois                                        $100   Jasmine Ward         Paralegal     Lee's Summit   Employment          2018
$200   Amanda R.             Associate       Edwardsville,      Bankruptcy            2019
                                                                                             MARTIN LEIGH
       McQuaid                               Illinois
                                                                                             $350   Amy Ryan             Partner       Kansas City    Real Estate         2019
HERREN, DARE & STREETT                                                                       $350   Beverly Weber        Shareholder   Kansas City    Real Estate         2019
$300   David M. Dare         Partner         St. Louis          Bankruptcy            2019   $350   Greg Todd            Partner       Kansas City    Real Estate         2019
                                                                                             $350   Thomas Fritzlen      Shareholder   Kansas City    Real Estate         2019
HKM EMPLOYMENT ATTORNEYS
                                                                                             $350   William Meyer        Partner       Kansas City    Real Estate         2019
$400   S. Cody Reinberg      Attorney        St. Louis          Employment            2019
                                                                                             $110   Sherri Ratcliffe     Paralegal     Kansas City    Real Estate         2019
HOLLAND LAW FIRM
                                                                                             MEDLER & ROITHER
$850   Eric D. Holland Sr.   Partner         St. Louis          Class Action/MDL      2019
                                                                                             $350   Jeffrey Medler       Partner       St. Louis      Litigation          2019
$500   R. Seth Crompton      Partner         St. Louis          Class Action/MDL      2019
$250   Philip Proud          Associate       St. Louis          Class Action/MDL      2019   MEYERS LAW FIRM
                                                                                             $600   Marty Meyers         Partner       Kansas City    Employment          2019
HOLLINGSHEAD & DUDLEY
                                                                                             $390   Leonard Stephens     Attorney      Kansas City    Employment          2019
$400   Jeremy D.             Partner         St. Louis          Employment            2018
       Hollingshead                                                                          $375   Heather Hardinger    Attorney      Kansas City    Employment          2019
$400   Nicholas Dudley       Partner         Kansas City        Employment            2018   $300   Candice Johnson      Attorney      Kansas City    Employment          2019
$300   John Moffitt III      Attorney        St. Louis          Employment            2018
                                                                                             MILLER SCHIRGER
$300   Katie Rhoten          Associate       St. Louis          Employment            2018
                                                                                             $675   John Schirger        Partner       Kansas City    Class Action/MDL    2019
$200   Ben Coudret           Associate       St. Louis          Employment            2018
                                                                                             $675   Matthew Lytle        Partner       Kansas City    Class Action/MDL    2019
$100   Arriana Hayes         Law Clerk       St. Louis          Employment            2018
                                                                                             $575   Joseph Feierabend    Partner       Kansas City    Class Action/MDL    2019
$100   Christopher           Law Clerk       St. Louis          Employment            2018
       Sandifer                                                                              NATALIA MCKINSTRY LLC
$100   Emma Wilson           Law Clerk       St. Louis          Employment            2018   $225   Natalia McKinstry    Partner       St. Louis      Wrongful Death      2019
$100   Jessica Rials         Paralegal       St. Louis          Employment            2018
                                                                                             OGLETREE DEAKINS
$100   Melissa Heisner       Paralegal       St. Louis          Employment            2018
                                                                                             $285   James M. Paul        Shareholder   St. Louis      Employment          2018
HOLMAN SCHIAVONE                                                                             $230   Meredith A. Lopez    Associate     St. Louis      Employment          2018
$375   Ashley Atwell-Soler Counsel           Kansas City        Employment            2018
                                                                                             PAUL LLP
HUSCH BLACKWELL                                                                              $675   John Cracken         Of Counsel    Kansas City    Class Action/MDL    2019
$505   Matthew Schelp        Partner         St. Louis          Government            2018   $650   Rick Paul            Partner       Kansas City    Class Action/MDL    2019
                                                                Compliance
                                                                                             $500   Ashlea Schwarz       Of Counsel    Kansas City    Class Action/MDL    2019
$335   Matthew Diehr         Partner         St. Louis          Government            2018
                                                                                             $275   Sue Becker           Associate     Kansas City    Class Action/MDL    2019
                                                                Compliance
                                                                                             $225   Adam Krause          Associate     Kansas City    Class Action/MDL    2019
$250   Grant Ford            Associate       St. Louis          Government            2018
                                                                Compliance                   $225   Robert Kinsman       Associate     Kansas City    Class Action/MDL    2019
                                                                                             $225   Steven Rowe          Paralegal     Kansas City    Class Action/MDL    2019
JACOBSON PRESS
                                                                                             $185   Kendra John          Paralegal     Kansas City    Class Action/MDL    2019
$400   Joe Jacobson          Partner         St. Louis          Missouri Securities   2019
                                                                                             $175   Cam Riemensnider     Paralegal     Kansas City    Class Action/MDL    2019
                                                                Act
                                                                                             $175   Linda Davis          Paralegal     Kansas City    Class Action/MDL    2019
$350   Allen Press           Partner         St. Louis          Missouri Securities   2019
                                                                Act                          $175   Melissa Casady       Paralegal     Kansas City    Class Action/MDL    2019
$250   Matt Vianello         Attorney        St. Louis          Missouri Securities   2019   $175   Pam Williams         Paralegal     Kansas City    Class Action/MDL    2019
                                                                Act                          $150   Pat Neal             Paralegal     Kansas City    Class Action/MDL    2019
                                                                                             $125   Sydney Estell        Paralegal     Kansas City    Class Action/MDL    2019
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HOUR                                                                                           HOUR
PAUL LLP (CONT.)                                                                               SIMMONS HANLY CONROY
$100   Heather Webb          Paralegal       Kansas City        Class Action/MDL        2019   $400   Sarah Burns         Associate    Alton, Illinois     Class Action/MDL   2019
$90    Caroline Abbott       Paralegal       Kansas City        Class Action/MDL        2019   $275   Gary Payne          Associate    Alton, Illinois     Class Action/MDL   2019
                                                                                               $185   Eric Disney         Associate    Alton, Illinois     Class Action/MDL   2019
PHILLIPS & THOMAS
                                                                                               $125   Jill Kraus          Paralegal    Alton, Illinois     Class Action/MDL   2019
$350   George J. Thomas      Attorney        Prairie Village,   Bankruptcy              2019
                                             Kansas                                            $100   Julie Bond          Paralegal    Alton, Illinois     Class Action/MDL   2019

PLAYTER & PLAYTER                                                                              SPENCER FANE

$300   Chris Playter         Partner         Lee's Summit       Employment              2019   $610   Kenneth Mason       Partner      Overland Park,      Federal Trade      2018
                                                                                                                                       Kansas              Commission Act
$300   Eric Playter          Partner         Lee's Summit       Employment              2019
                                                                                               $575   Scott Goldstein     Partner      Kansas City         Bankruptcy         2019
POLSINELLI                                                                                     $510   Leslie Greathouse   Partner      Kansas City         Federal Trade      2018
$505   Matthew S.            Shareholder     St. Louis          Bankruptcy              2019                                                               Commission Act
       Layfield                                                                                $480   Eric Peterson       Of Counsel   St. Louis           Bankruptcy         2019
$475   Todd Bartels          Shareholder     Kansas City        Bankruptcy              2018   $455   Beth Miller         Of Counsel   Kansas City         Federal Trade      2018
$370   Robert Spake          Shareholder     Kansas City        Bankruptcy              2018                                                               Commission Act
$330   Benton Keatley        Associate       Kansas City        Bankruptcy              2018   $455   Eric L. Johnson     Partner      Kansas City         Federal Trade      2018
                                                                                                                                                           Commission Act
$315   Nicholas A. Griebel   Associate       St. Louis          Bankruptcy              2019
                                                                                               $415   W. Joseph Hatley    Partner      Kansas City         Sunshine Law       2019
$225   Jerry Thies           Senior          Kansas City        Bankruptcy              2018
                             Paralegal                                                         $370   Paul Satterwhite    Partner      Springfield         Federal Trade      2018
                                                                                                                                                           Commission Act
POPHAM LAW FIRM                                                                                $360   Ryan Hardy          Partner      St. Louis           Bankruptcy         2019
$600   Dennis Egan           Partner         Kansas City        Employment              2019   $350   Casey Murray        Partner      Kansas City         Federal Trade      2018
$450   Bert Braud            Partner         Kansas City        Employment              2019                                                               Commission Act
$250   Cooper Mach           Attorney        Kansas City        Employment              2019   $330   Crystal Howard      Of Counsel   Overland Park,      Federal Trade      2018
                                                                                                                                       Kansas              Commission Act
$140   Aly Pack              Paralegal       Kansas City        Employment              2019
                                                                                               $325   Bryant Lamer        Partner      Kansas City         Federal Trade      2018
$140   Nicole Eaton          Paralegal       Kansas City        Employment              2019
                                                                                                                                                           Commission Act
RICE SPAETH SUMMERS & HEISSERER                                                                $320   Duval Pierre        Associate    Kansas City         Federal Trade      2018
                                                                                                                                                           Commission Act
$250   John Heisserer        Partner         Cape               Personal Injury         2019
                                             Girardeau                                         $295   Zachary Fairlie     Associate    Kansas City         Bankruptcy         2019
                                                                                               $270   Melissa Hinkle      Paralegal    Kansas City         Federal Trade      2018
ROSENBLUM GOLDENHERSH                                                                                                                                      Commission Act
$375   Jeffrey B. Hunt       Partner         St. Louis          Breach of Contract      2018   $240   Lisa Wright         Paralegal    Kansas City         Bankruptcy         2019
                                                                                               $230   Kathie Tatman       Paralegal    Kansas City         Federal Trade      2018
ROSS & VOYTAS
                                                                                                                                                           Commission Act
$225   Ethan William Gee     Attorney        St. Louis          Personal Injury         2018
                                                                                               $230   Ronald Griffin      Paralegal    Kansas City         Federal Trade      2018
$225   Nathan Ross           Partner         St. Louis          Personal Injury         2018                                                               Commission Act
$225   Richard A. Voytas     Partner         St. Louis          Personal Injury         2018   $230   Sarah Estlund       Paralegal    Kansas City         Federal Trade      2018
       Jr.                                                                                                                                                 Commission Act

RUNNYMEDE LAW GROUP                                                                            STINSON LEONARD STREET
$425   Stephen R. Clark      Partner         St. Louis          Breach of Contract      2018   $730   Daniel Bukovac      Partner      Kansas City         Class Action/MDL   2019
$250   Kristen E.            Associate       St. Louis          Breach of Contract      2018   $580   Thomas Lynn         Partner      Kansas City         Class Action/MDL   2019
       Weinberg
                                                                                               $570   Charles Hatfield    Partner      Jefferson City      Election Law       2018
$100   Chelsea L.            Paralegal       St. Louis          Breach of Contract      2018
                                                                                               $565   John Munich         Partner      Jefferson City      Election Law       2018
       Langeneckert
                                                                                               $515   Sarah King          Partner      Kansas City         Class Action/MDL   2019
SEYFERTH BLUMENTHAL & HARRIS                                                                   $455   Colin Turner        Associate    Kansas City         Class Action/MDL   2019
$395   Charlie J. Harris     Partner         Kansas City        Receivership            2019   $405   Ashley Habiger      Associate    Kansas City         Class Action/MDL   2019
$285   Deena Jenab           Partner         Kansas City        Receivership            2019   $405   Nicholas Hoffman    Associate    Kansas City         Class Action/MDL   2019
$285   Kevin Karpin          Partner         Kansas City        Receivership            2019   $380   Jeremy Root         Partner      Jefferson City      Election Law       2018
$245   Julie Sims            Associate       Kansas City        Receivership            2019   $365   Benjamin Woodard Associate       St. Louis           Class Action/MDL   2019
$245   Nick Daugherty        Associate       Kansas City        Receivership            2019   $345   Christopher         Associate    Kansas City         Class Action/MDL   2019
$125   Cheri Diaz            Paralegal       Kansas City        Receivership            2019          Sevedge
$125   Melissa Miller        Paralegal       Kansas City        Receivership            2019   $345   James               Associate    Kansas City         Class Action/MDL   2019
                                                                                                      Montgomery
SHAMBERG, JOHNSON & BERGMAN                                                                    $345   Jessica Pixler      Associate    Kansas City         Class Action/MDL   2019
$725   Lynn Johnson          Partner         Kansas City        Class Action/MDL        2019   $345   Katherine Bechina   Associate    Kansas City         Class Action/MDL   2019
SHOOK, HARDY & BACON                                                                           $330   Courtney Harrison   Associate    Kansas City         Class Action/MDL   2019
$770   Stan Sexton           Partner         Kansas City        Public Interest Class   2019   $325   Derek Grutsch       Law Clerk    Kansas City         Class Action/MDL   2019
                                                                Action                         $325   Nicci Warr          Associate    St. Louis           Election Law       2018
$680   Andrew Carpenter      Partner         Kansas City        Public Interest Class   2019   $305   Steve Froelich      Paralegal    Kansas City         Class Action/MDL   2019
                                                                Action
                                                                                               $305   Tamara Combs        Associate    Kansas City         Class Action/MDL   2019
$465   Brent Dwerlkotte      Associate       Kansas City        Public Interest Class   2019
                                                                                               $290   Erin Naeger         Associate    Kansas City         Election Law       2018
                                                                Action
                                                                                               $280   Joyce Hart          Paralegal    Kansas City         Class Action/MDL   2019
$465   Russell Shankland     Partner         Kansas City        Public Interest Class   2019
                                                                Action                         $280   Leisa Stevens       Paralegal    Kansas City         Class Action/MDL   2019
$375   Britta Stamps         Associate       Kansas City        Public Interest Class   2019   $260   John Benson         Paralegal    Kansas City         Class Action/MDL   2019
                                                                Action                         $255   Cheri Diaz          Paralegal    Kansas City         Class Action/MDL   2019
$320   Emily Sellers         Associate       Kansas City        Public Interest Class   2019   $255   Cindy Cusimano      Paralegal    Kansas City         Class Action/MDL   2019
                                                                Action
                                                                                               $250   Patsy Whalen        Paralegal    Kansas City         Class Action/MDL   2019
$125   Patricia Carlson      Legal Analyst   Kansas City        Public Interest Class   2019
                                                                                               $195   Marsha Presley      Paralegal    Jefferson City      Election Law       2018
                                                                Action
                                                                                               $165   Renee Henson        Law Clerk    Kansas City         Class Action/MDL   2019
$125   Paul Hoffmeyer        Legal Analyst   Kansas City        Public Interest Class   2019
                                                                Action
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HOUR                                                                                       HOUR
STUEVE SIEGEL HANSON                                                                       SUMMERS COMPTON WELLS
$865   Norman Siegel        Partner         Kansas City        Class Action/MDL     2019   $365    David Sosne             Principal         St. Louis          Bankruptcy               2019
$865   Patrick Stueve       Partner         Kansas City        Class Action/MDL     2019   $350    Bonnie Clair            Principal         St. Louis          Bankruptcy               2019
$825   Steve Six            Partner         Kansas City        Class Action/MDL     2019   $325    Brian J. LaFlamme       Principal         St. Louis          Bankruptcy               2019
$725   Rachel Schwartz      Partner         Kansas City        Class Action/MDL     2019   $120    N/A                     Paralegal         St. Louis          Bankruptcy               2019
$695   Bradley Wilders      Partner         Kansas City        Class Action/MDL     2019   $100    N/A                     Law Clerk         St. Louis          Bankruptcy               2019
$625   Stephanie Walters    e-Discovery     Kansas City        Class Action/MDL     2019
                            Counsel                                                        THOMPSON COBURN

$625   Toji Calabro         Of Counsel      Kansas City        Class Action/MDL     2019   $645    Mark Bossi              Partner           St. Louis          Bankruptcy               2019

$575   Jeffrey Scurlock     Of Counsel      Kansas City        Class Action/MDL     2019   $490    Brian Hockett           Partner           St. Louis          Bankruptcy               2019

$550   Lindsay Perkins      Of Counsel      Kansas City        Class Action/MDL     2019   TUETH KEENEY
$495   Ethan Lange          Associate       Kansas City        Class Action/MDL     2019   $300    James Layton            Of Counsel        St. Louis          First Amendment          2018
$495   Larkin Walsh         Of Counsel      Kansas City        Class Action/MDL     2019                                                                        Litigation
$475   Alexander T. Ricke   Associate       Kansas City        Employment and       2019
                                                                                           WALTERS BENDER STROHBEHN & VAUGHAN
                                                               Labor
                                                                                           $725    Thomas Bender           Partner           Kansas City        Class Action/MDL         2019
$475   Austin Moore         Associate       Kansas City        Class Action/MDL     2019
                                                                                           $525    Dirk Hubbard            Of Counsel        Kansas City        Class Action/MDL         2019
$475   Jennifer Carter      Associate       Kansas City        Class Action/MDL     2019
                                                                                           $400    Brett Milbourn          Partner           Kansas City        Class Action/MDL         2019
$450   David Hickey         Associate       Kansas City        Class Action/MDL     2019
                                                                                           $400    Karen Renwick           Partner           Kansas City        Class Action/MDL         2019
$425   Curtis Shank         Associate       Kansas City        Class Action/MDL     2019
                                                                                           $250    Brooke Blake            Associate         Kansas City        Class Action/MDL         2019
$425   James Vaglio         Associate       Kansas City        Class Action/MDL     2019
                                                                                           $250    Michael Sichter         Associate         Kansas City        Class Action/MDL         2019
$425   Peter Rupp           Systems         Kansas City        Class Action/MDL     2019
                            Director                                                       $250    Patrick McAndrews Associate               Kansas City        Class Action/MDL         2019
$425   Sean Cooper          Associate       Kansas City        Class Action/MDL     2019   $125    Sarah Stevens           Paralegal         Kansas City        Class Action/MDL         2019
$375   Daniel Shaw          Associate       Kansas City        Class Action/MDL     2019   $125    Sarah Varney            Paralegal         Kansas City        Class Action/MDL         2019
$350   Ariel Tazkargy       Associate       Kansas City        Class Action/MDL     2019
                                                                                           WHITE, GRAHAM, BUCKLEY & CARR
$350   John Tompkins        Associate       Kansas City        Class Action/MDL     2019
                                                                                           $475    Gene Graham             Partner           Independence       Employment               2019
$350   Matt Cooper          Associate       Kansas City        Class Action/MDL     2019
$350   Sam Storrs           Associate       Kansas City        Class Action/MDL     2019   WHITEHEAD LAW FIRM
$295   Cheri Perez          Paralegal       Kansas City        Class Action/MDL     2019   $370    Michael Whitehead Principal               Lee's Summit       First Amendment          2018
                                                                                                                                                                Litigation
$295   Mary Rose            Paralegal       Kansas City        Class Action/MDL     2019
       Marquart                                                                            $300    Jonathan                Partner           Lee's Summit       First Amendment          2018
                                                                                                   Whitehead                                                    Litigation
$295   Michelle Campbell    Paralegal       Kansas City        Class Action/MDL     2019
$295   Sherry Barry         Paralegal       Kansas City        Class Action/MDL     2019   WIRKIN LAW FIRM
$275   Adrian Weiner        IT Manager      Kansas City        Class Action/MDL     2019   $300    Christopher Wirkin      Partner           Kansas City        Slander of Title         2018
$245   Erika Reyes          Paralegal       Kansas City        Class Action/MDL     2019                                                                        Action

$245   Janet Switzer        Finance/HR      Kansas City        Class Action/MDL     2019   WITHERSPOON LAW GROUP
                            Director
                                                                                           $350    Nuru Witherspoon        Partner           St. Louis          Wrongful Death           2019
$245   Julie Olivas         Paralegal       Kansas City        Class Action/MDL     2019
$245   Katrina Cervantes    Paralegal       Kansas City        Class Action/MDL     2019
$245   Lori DeMoss          Paralegal       Kansas City        Class Action/MDL     2019
$245   Margaret Smith       Paralegal       Kansas City        Class Action/MDL     2019
$245   Melissa Warner       Paralegal       Kansas City        Class Action/MDL     2019
$245   Sheri Williams       Paralegal       Kansas City        Class Action/MDL     2019
$225   Ben Stueve           Paralegal       Kansas City        Class Action/MDL     2019
$225   Brendan Marquart     Paralegal       Kansas City        Class Action/MDL     2019




OUT-OF-STATE                                                                               OUT-OF-STATE
RATE/ NAME                  TITLE            CITY              PRACTICE AREA        YEAR   RATE/ NAME                      TITLE              CITY               PRACTICE AREA           YEAR
HOUR                                                                                       HOUR
FISHER PATTERSON SAYLER & SMITH                                                            POLSINELLI
$135   Katrina Hudson       Associate        Topeka,           Litigation           2019   $420    Brenna A. Dolphin       Associate          Wilmington,        Bankruptcy              2019
                                             Kansas                                                                                           Delaware
$135   Anne Marie           Associate        Topeka,           Litigation           2019
       Beckerle                              Kansas                                        SIMMONS HANLY CONROY
                                                                                           $950    Paul Hanly              Partner            New York           Class Action/MDL        2019
FOULSTON SIEFKIN                                                                           $950    Jayne Conroy            Partner            New York           Class Action/MDL        2019
$565   Jason Lacey          Partner          Wichita,          ERISA Class Action   2018   $950    Andrea Bierstein        Partner            New York           Class Action/MDL        2019
                                             Kansas
                                                                                           $400    Ellyn Hurd              Associate          New York           Class Action/MDL        2019
$500   Boyd Byers           Partner          Wichita,          ERISA Class Action   2018
                                             Kansas                                        SPENCER FANE
$445   Jeremy Graber        Partner          Topeka,           ERISA Class Action   2018   $325    Mary Bacon              Associate          Las Vegas          Federal Trade           2018
                                             Kansas                                                                                                              Commission Act
$300   Nicki Rose           Associate        Wichita,          ERISA Class Action   2018
                                             Kansas                                        STINSON LEONARD STREET
$240   Cynthia Voccio       Paralegal        Wichita,          ERISA Class Action   2018   $670    Scott Roberts           Partner            Decatur,           Class Action/MDL        2019
                                             Kansas                                                                                           Illinois
$220   Rebekah Haase        Paralegal        Wichita,          ERISA Class Action   2018   $590    Joel Leviton            Partner            Minneapolis        Class Action/MDL        2019
                                             Kansas
                                                                                           For more rates of out-of-state attorneys who did work in Missouri in the last year, please visit us
$220   Christi Ramsey       Paralegal        Wichita,          ERISA Class Action   2018
                                                                                           online at molawyersmedia.com.
                                             Kansas
$215   Jeremy Koehler       Summer           Wichita,          ERISA Class Action   2018
                            Associate        Kansas
$215   Elias Underwood      Summer           Wichita,          ERISA Class Action   2018
                            Associate        Kansas
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      2019


                               August 9, 2019
Awards Luncheon | Sheraton Westport Lakeside Chalet

   Congratulations to the 2019 Honorees
      Bryan Cave                     Mickes O’Toole, LLC                         Teresa Young
   Leighton Paisner                                                                Brown & James
                                          Narcisa Przulj
  Charlie Harris Jr.                    Sandberg Phoenix & von                Vincent D. Reese
 Seyferth Blumenthal & Harris                  Gontard                         Mickes O’Toole, LLC

    Dan Cranshaw                          Patricia Llanos                           Polsinelli
           Polsinelli                      Brown & Crouppen
                                                                               Pamela Meanes
 Dowd Bennett LLP                           Pete Woods                           Thompson Coburn
                                              Haar & Woods
    J. Danielle Carr                                                               Luz Maria
 Mound City Bar Association             Sheena Hamilton                            Henriquez
                                           Dowd Bennett LLP                   Legal Services of Eastern
     Lisa D’Souza                                                                     Missouri
   Legal Services of Eastern            Stephanie Hosler
           Missouri                   Bryan Cave Leighton Paisner              Nicole Colbert-
                                                                                 Botchway
  Martha Charepoo                                                               22nd Judicial Circuit
 Baker Sterchi Cowden & Rice



                                             Featured Speaker:
                                             Judge Lawrence
                                               E. Mooney

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HOUR                                                                                 HOUR
ALLIANCE DEFENDING FREEDOM                                                           BOLEN ROBINSON & ELLIS (CONT.)
$695    David Cortman       Senior Counsel Scottsdale,     First Amendment    2018   $150    Lori Stephens        Paralegal        Decatur,          Class Action/MDL     2019
                                           Arizona         Litigation                                                              Illinois
$550    Kevin Theriot       Senior Counsel Scottsdale,     First Amendment    2018   $150    Donna Whitsett       Paralegal        Decatur,          Class Action/MDL     2019
                                           Arizona         Litigation                                                              Illinois
$550    Jordan Lorence      Senior Counsel Washington,     First Amendment    2018   $150    Dawn Nichols         Paralegal        Decatur,          Class Action/MDL     2019
                                           D.C.            Litigation                                                              Illinois
$450    Ray Kaselonis       Senior Counsel Scottsdale,     First Amendment    2018
                                           Arizona         Litigation                BRADY PRESTON GRONLUND

$350    Rory Gray           Senior Counsel Scottsdale,     First Amendment    2018   $310    Brad Brady           Partner          Cedar Rapids,     Class Action/MDL     2019
                                           Arizona         Litigation                                                              Iowa

$350    Jeremiah Galus      Legal Counsel   Scottsdale,    First Amendment    2018   $275    Matthew Preston      Partner          Cedar Rapids,     Class Action/MDL     2019
                                            Arizona        Litigation                                                              Iowa

$200    Christiana Holcomb Legal Counsel    Washington,    First Amendment    2018   $260    Ann Brown            Partner          Cedar Rapids,     Class Action/MDL     2019
                                            D.C.           Litigation                                                              Iowa

$150    Christen Price      Legal Counsel   Washington,    First Amendment    2018   $120    Kristine Bunger      Paralegal        Cedar Rapids,     Class Action/MDL     2019
                                            D.C.           Litigation                                                              Iowa

ANDERSON, BOTTRELL, SANDEN & THOMPSON                                                BROOKS, PIERCE, MCLENDON, HUMPHREY & LEONARD

$250    Michelle Donarski   Partner         Fargo, North   Class Action/MDL   2019   $360    Clinton R. Pinyan    Partner          Greensboro,    Class Action/MDL        2019
                                            Dakota                                                                                 North Carolina

$250    Michael Gust        Partner         Fargo, North   Class Action/MDL   2019   $220    Daniel F. E. Smith   Associate        Greensboro,    Class Action/MDL        2019
                                            Dakota                                                                                 North Carolina

$250    Michael Andrews     Partner         Fargo, North   Class Action/MDL   2019   CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO
                                            Dakota
                                                                                     $850    James E. Cecchi      Partner          Roseland, New Class Action/MDL         2019
$250    Lowell Bottrell     Partner         Fargo, North   Class Action/MDL   2019                                                 Jersey
                                            Dakota
                                                                                     $650    Lindsey H. Taylor    Partner          Roseland, New Class Action/MDL         2019
$150    Liza Gion           Paralegal       Fargo, North   Class Action/MDL   2019                                                 Jersey
                                            Dakota
                                                                                     $650    James A. O’Brien     Counsel          Roseland, New Class Action/MDL         2019
BARRACK, RODOS & BACINE                                                                                                            Jersey

$770    Stephen Basser      Partner         San Diego      Class Action/MDL   2019   $650    Donald E. Ecklund    Partner          Roseland, New Class Action/MDL         2019
                                                                                                                                   Jersey
$770    Jeffrey Golan       Partner         Philadelphia   Class Action/MDL   2019
                                                                                     $125    Mary Ellen Rago      Administrative   Roseland, New Class Action/MDL         2019
$660    William Ban         Partner         New York       Class Action/MDL   2019                                Assistant        Jersey
$560    Samuel Ward         Partner         San Diego      Class Action/MDL   2019
                                                                                     COFFMAN LAW FIRM
$300    Nina McGarvey       Paralegal       Philadelphia   Class Action/MDL   2019
                                                                                     $750    Richard L. Coffman   Partner          Beaumont,         Class Action/MDL     2019
$290    Jennifer Mueller    Paralegal       San Diego      Class Action/MDL   2019
                                                                                                                                   Texas
$290    Gavin O'Hara        Paralegal       San Diego      Class Action/MDL   2019
                                                                                     $150    Heather McAdams      Paralegal        Beaumont,         Class Action/MDL     2019
                                                                                                                                   Texas
BATTLE & WINN
$465    Adam Plant          Partner         Birmingham,    Class Action/MDL   2019   EMERSON SCOTT
                                            Alabama
                                                                                     $795    John Emerson         Partner          Little Rock,      Class Action/MDL     2019
                                                                                                                                   Arkansas
BATTS, BATTS & BELL
                                                                                     $625    David Scott          Partner          Little Rock,      Class Action/MDL     2019
$300    Michael Batts       Partner         Rocky Mount, Class Action/MDL     2019
                                                                                                                                   Arkansas
                                            North Carolina
                                                                                     $150    Tanya Autry          Paralegal        Little Rock,      Class Action/MDL     2019
$280    Jeffrey Batts       Partner         Rocky Mount, Class Action/MDL     2019
                                                                                                                                   Arkansas
                                            North Carolina
$260    Joseph Bell         Partner         Rocky Mount, Class Action/MDL     2019   ENGLISH, LUCAS, PRIEST & OWSLEY
                                            North Carolina
                                                                                     $235    Kurt Maier           Partner          Bowling           Class Action/MDL     2019
$200    Michael Smith       Associate       Rocky Mount, Class Action/MDL     2019                                                 Green,
                                            North Carolina                                                                         Kentucky
$200    Joseph McKellar     Associate       Rocky Mount, Class Action/MDL     2019   $175    Jessica Surber       Associate        Bowling           Class Action/MDL     2019
                                            North Carolina                                                                         Green,
$80     Jennifer Cottle     Paralegal       Rocky Mount, Class Action/MDL     2019                                                 Kentucky
                                            North Carolina                           $145    Bridget Stratton     Paralegal        Bowling           Class Action/MDL     2019
                                                                                                                                   Green,
BERGER MONTAGUE                                                                                                                    Kentucky
$725    E. Michelle Drake   Shareholder     Minneapolis    Class Action       2019
                                                                                     FISHER PATTERSON SAYLER & SMITH
BOHRER BRADY                                                                         $135    Katrina Hudson       Associate        Topeka,           Litigation           2019
$350    Scott Brady         Partner         Baton Rouge,   Class Action/MDL   2019                                                 Kansas
                                            Louisiana                                $135    Anne Marie           Associate        Topeka,           Litigation           2019
                                                                                             Beckerle (no lon-                     Kansas
BOLEN ROBINSON & ELLIS                                                                       ger listed on web
$875    Jon Robinson        Partner         Decatur,       Class Action/MDL   2019           site)
                                            Illinois
                                                                                     FOULSTON SIEFKIN
$650    Christopher Ellis   Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $565    Jason Lacey          Partner          Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$425    Shane Mendenhall    Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $500    Boyd Byers           Partner          Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$375    Josh Rohrscheib     Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $445    Jeremy Graber        Partner          Topeka,           ERISA Class Action   2018
                                                                                                                                   Kansas
$350    Matt Spain          Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $300    Nicki Rose           Associate        Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$325    Lea Jacobus         Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $240    Cynthia Voccio       Paralegal        Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$250    Zachary Anderson    Law Clerk       Decatur,       Class Action/MDL   2019
                                            Illinois                                 $220    Rebekah Haase        Paralegal        Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$175    Nrupa Patel         Partner         Decatur,       Class Action/MDL   2019
                                            Illinois                                 $220    Christi Ramsey       Paralegal        Wichita,          ERISA Class Action   2018
                                                                                                                                   Kansas
$150    Sandy Jones         Paralegal       Decatur,       Class Action/MDL   2019
                                            Illinois
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OUT-OF-STATE                                                                            OUT-OF-STATE
RATE/   NAME                TITLE           CITY             PRACTICE AREA       YEAR   RATE/   NAME               TITLE       CITY          PRACTICE AREA       YEAR
HOUR                                                                                    HOUR
FOULSTON SIEFKIN (CONT.)                                                                GREENE ESPEL (CONT.)
$215    Jeremy Koehler      Summer          Wichita,        ERISA Class Action   2018   $305    Baker John         Partner     Minneapolis   Class Action/MDL    2019
                            Associate       Kansas                                      $302    Kimble Janine      Associate   Minneapolis   Class Action/MDL    2019
$215    Elias Underwood     Summer          Wichita,        ERISA Class Action   2018   $266    Levy Carynne       Paralegal   Minneapolis   Class Action/MDL    2019
                            Associate       Kansas
                                                                                        $258    Jones Debra        Paralegal   Minneapolis   Class Action/MDL    2019
GRAY REED & MCGRAW                                                                      $258    Dolphin Kathleen   Paralegal   Minneapolis   Class Action/MDL    2019
$865    William Chaney      Partner         Dallas          Class Action/MDL     2019   $238    Nusbaum Ann        Paralegal   Minneapolis   Class Action/MDL    2019
$865    Jim Reed            Partner         Dallas          Class Action/MDL     2019   $238    Frisell Sharon     Paralegal   Minneapolis   Class Action/MDL    2019
$865    Jim Moseley         Partner         Dallas          Class Action/MDL     2019   $160    Nikolai Mary       Paralegal   Minneapolis   Class Action/MDL    2019
$825    Ken Stone           Partner         Dallas          Class Action/MDL     2019   $119    Ling Lynn          Paralegal   Minneapolis   Class Action/MDL    2019
$825    Jim Ormiston        Partner         Dallas          Class Action/MDL     2019   $112    Yackley Melanie    Paralegal   Minneapolis   Class Action/MDL    2019
$825    David Henry         Of Counsel      Dallas          Class Action/MDL     2019   $90     Richart Laura      Paralegal   Minneapolis   Class Action/MDL    2019
$775    Jeffrey Hopkins     Partner         Dallas          Class Action/MDL     2019
                                                                                        HARE, WYNN, NEWELL & NEWTON
$725    Carol Wilhelm       Of Counsel      Dallas          Class Action/MDL     2019
                                                                                        $865    Powell Scott       Partner     Birmingham,   Class Action/MDL    2019
$725    Angela Brown        Associate       Dallas          Class Action/MDL     2019                                          Alabama
$695    Dylan Drummond      Associate       Dallas          Class Action/MDL     2019   $865    McKee Bruce        Partner     Birmingham,   Class Action/MDL    2019
$695    Andrew York         Partner         Dallas          Class Action/MDL     2019                                          Alabama
$650    Jennifer Gurevitz   Partner         Dallas          Class Action/MDL     2019   $725    Earley Jason       Partner     Birmingham,   Class Action/MDL    2019
$650    David Gair          Partner         Dallas          Class Action/MDL     2019                                          Alabama

$625    Alex Fuller         Associate       Dallas          Class Action/MDL     2019   $700    Moncus Jamie       Partner     Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$575    Russell Jumper      Associate       Dallas          Class Action/MDL     2019
                                                                                        $625    Vines Brian        Associate   Birmingham,   Class Action/MDL    2019
$565    William Drabble     Associate       Dallas          Class Action/MDL     2019                                          Alabama
$565    Taylor Lamb         Associate       Dallas          Class Action/MDL     2019   $625    Nichols Hughston   Partner     Birmingham,   Class Action/MDL    2019
$565    Skyler Stuckey      Associate       Dallas          Class Action/MDL     2019                                          Alabama
$525    Lydia Webb          Associate       Dallas          Class Action/MDL     2019   $565    Smith Tempe        Associate   Birmingham,   Class Action/MDL    2019
$525    David Earhart       Partner         Dallas          Class Action/MDL     2019                                          Alabama

$500    Sonya Reddy         Associate       Dallas          Class Action/MDL     2019   $565    Randolph Chris     Associate   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$500    Marcus Fettinger    Associate       Dallas          Class Action/MDL     2019
                                                                                        $500    Applebaum          Associate   Birmingham,   Class Action/MDL    2019
$500    Casey Doherty       Associate       Dallas          Class Action/MDL     2019           Virginia                       Alabama
$500    Brock Nizegoda      Associate       Dallas          Class Action/MDL     2019   $400    Jewell Sarah       Associate   Birmingham,   Class Action/MDL    2019
$425    Maryann Zaki        Associate       Dallas          Class Action/MDL     2019                                          Alabama
$425    David Lisch         Associate       Dallas          Class Action/MDL     2019   $300    Ware Brian         Paralegal   Birmingham,   Class Action/MDL    2019
$400    Alexandria Twiss    Associate       Dallas          Class Action/MDL     2019                                          Alabama

$400    Alexandria Moore    Associate       Dallas          Class Action/MDL     2019   $300    Carter Phillip     Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$330    Trevor Lawhorn      Associate       Dallas          Class Action/MDL     2019
                                                                                        $295    Whitfield Dax      Paralegal   Birmingham,   Class Action/MDL    2019
$330    Logan Leal          Associate       Dallas          Class Action/MDL     2019                                          Alabama
$295    Paul Savoy          Paralegal       Dallas          Class Action/MDL     2019   $295    Snipes Brian       Paralegal   Birmingham,   Class Action/MDL    2019
$295    Jill Wall           Paralegal       Dallas          Class Action/MDL     2019                                          Alabama
$295    Elayne Cameau       Paralegal       Dallas          Class Action/MDL     2019   $295    Rubino Emily       Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$295    Christopher         Paralegal       Dallas          Class Action/MDL     2019
        Donaldson                                                                       $295    Riedinger Laura    Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$295    Beth Cook           Paralegal       Dallas          Class Action/MDL     2019
                                                                                        $295    Nelson Sarah       Paralegal   Birmingham,   Class Action/MDL    2019
$275    Jason Brown         Associate       Dallas          Class Action/MDL     2019
                                                                                                                               Alabama
$225    Leah Hart           Paralegal       Dallas          Class Action/MDL     2019
                                                                                        $295    Miller Martha      Paralegal   Birmingham,   Class Action/MDL    2019
$225    Lan Lam             Paralegal       Dallas          Class Action/MDL     2019                                          Alabama
$170    Nathan Cox          Law Clerk       Dallas          Class Action/MDL     2019   $295    Marquez Andi       Paralegal   Birmingham,   Class Action/MDL    2019
$170    London England      Law Clerk       Dallas          Class Action/MDL     2019                                          Alabama
$170    Kyle Gardner        Law Clerk       Dallas          Class Action/MDL     2019   $295    Heath Rasheedah    Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$166    Clark Patterson     Paralegal       Dallas          Class Action/MDL     2019
                                                                                        $295    Glasgow Darcy      Paralegal   Birmingham,   Class Action/MDL    2019
$160    Casey Lindsey       Paralegal       Dallas          Class Action/MDL     2019
                                                                                                                               Alabama
$75     Susan Langley       Paralegal       Dallas          Class Action/MDL     2019
                                                                                        $295    Camp Amy           Paralegal   Birmingham,   Class Action/MDL    2019
$64     Laura DeBerg        Paralegal       Dallas          Class Action/MDL     2019                                          Alabama
$64     Cindy Gillam        Paralegal       Dallas          Class Action/MDL     2019   $295    Byrd Debbie        Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
GREENE ESPEL
                                                                                        $295    Bess Zondra        Paralegal   Birmingham,   Class Action/MDL    2019
$643    Espel Larry         Partner         Minneapolis     Class Action/MDL     2019                                          Alabama
$596    Greene Clifford     Partner         Minneapolis     Class Action/MDL     2019   $250    Young Jennifer     Paralegal   Birmingham,   Class Action/MDL    2019
$585    Gilbertson Robert   Partner         Minneapolis     Class Action/MDL     2019                                          Alabama
$534    Ursu John           Partner         Minneapolis     Class Action/MDL     2019   $250    Parker Chanelle    Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$501    David Wallace-      Partner         Minneapolis     Class Action/MDL     2019
        Jackson                                                                         $250    Marshall Hellana   Paralegal   Birmingham,   Class Action/MDL    2019
                                                                                                                               Alabama
$412    Hibbard Kathryn     Partner         Minneapolis     Class Action/MDL     2019
                                                                                        $250    Henry Jason        Paralegal   Birmingham,   Class Action/MDL    2019
$400    Johnson Mark        Partner         Minneapolis     Class Action/MDL     2019
                                                                                                                               Alabama
$400    Hagerty Brian       Associate       Minneapolis     Class Action/MDL     2019
                                                                                        $250    Gordon Ryan        Paralegal   Birmingham,   Class Action/MDL    2019
$391    Paul Jeya           Associate       Minneapolis     Class Action/MDL     2019                                          Alabama
$374    Erin Sindberg       Partner         Minneapolis     Class Action/MDL     2019   $250    Estep Emilie       Paralegal   Birmingham,   Class Action/MDL    2019
        Porter                                                                                                                 Alabama
$361    Zhao Kevin          Associate       Minneapolis     Class Action/MDL     2019   $250    Davis Mary Ellen   Paralegal   Birmingham,   Class Action/MDL    2019
$361    Rashid Faris        Associate       Minneapolis     Class Action/MDL     2019                                          Alabama
$345    Jenny Gassman-      Partner         Minneapolis     Class Action/MDL     2019   $250    Crowden Dickerson Paralegal    Birmingham,   Class Action/MDL    2019
        Pines                                                                                   Tara                           Alabama
$337    Schmitter Chris     Associate       Minneapolis     Class Action/MDL     2019
$322    Dunlop Sybil        Partner         Minneapolis     Class Action/MDL     2019
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RATE/    NAME                  TITLE           CITY            PRACTICE AREA      YEAR   RATE/   NAME                   TITLE          CITY              PRACTICE AREA      YEAR
HOUR                                                                                     HOUR
JAKE BROOKS (SOLO PRACTITIONER)                                                          PACHULSKI STANG ZIEHL & JONES (CONT.)
$225     Jake Brooks           Attorney        Scott City,     Class Action/MDL   2019   $925    Harry D. Hochman       Counsel        Los Angeles       Bankruptcy         2019
                                               Kansas                                    $895    Shirley S. Cho         Partner        Los Angeles       Bankruptcy         2019
KRUML LAW OFFICE                                                                         $795    Robert M. Saunders Counsel            Los Angeles       Bankruptcy         2019
$175     Thomas S. Kruml       Partner         Ord, Nebraska   Class Action/MDL   2019   $795    Gina F. Brandt         Counsel        Los Angeles       Bankruptcy         2019
$75      Lacey Fauss           Paralegal       Ord, Nebraska   Class Action/MDL   2019   $695    Tavi C. Flanagan       Counsel        Costa Mesa,       Bankruptcy         2019
                                                                                                                                       California
LOCKRIDGE GRINDAL NAUEN                                                                  $695    Jason H. Rosell        Associate      San Francisco     Bankruptcy         2019
$900     Richard Lockridge     Partner         Minneapolis     Class Action/MDL   2019   $575    Steven W. Golden       Associate      New York          Bankruptcy         2019
$785     Robert Shelquist      Partner         Minneapolis     Class Action/MDL   2019   $425    Leslie A. Forrester    Director of    San Fransisco     Bankruptcy         2019
$500     Scott Moriarty        Associate       Minneapolis     Class Action/MDL   2019                                  Legal Research
$500     Rebecca Peterson      Associate       Minneapolis     Class Action/MDL   2019   $395    Patricia J. Jeffries   Paralegal      Los Angeles       Bankruptcy         2019
$500     Kristen Marttila      Associate       Minneapolis     Class Action/MDL   2019   $375    Mike A. Matteo         Paralegal      Los Angeles       Bankruptcy         2019
$450     Rick Linsk            Associate       Minneapolis     Class Action/MDL   2019   POLSINELLI
$420     Krista Freier         Associate       Minneapolis     Class Action/MDL   2019   $420    Brenna A. Dolphin      Associate      Wilmington,       Bankruptcy         2019
$375     Laurie Meyer          Associate       Minneapolis     Class Action/MDL   2019                                                 Delaware
$325     Rachel Christiansen Associate         Minneapolis     Class Action/MDL   2019
                                                                                         POYNTER LAW GROUP
$325     Laura Matson          Associate       Minneapolis     Class Action/MDL   2019
                                                                                         $795    Scott Poynter          Partner        Little Rock,      Class Action/MDL   2019
$325     Kevin Ravenscroft     Associate       Minneapolis     Class Action/MDL   2019                                                 Arkansas
$325     Ke Huang              Associate       Minneapolis     Class Action/MDL   2019
                                                                                         ROTH LAW OFFICE
$200     Kelly LeRoy           Paralegal       Minneapolis     Class Action/MDL   2019
                                                                                         $150    Kent A. Roth           Partner        Ellinwood,        Class Action/MDL   2019
LUNDBERG LAW FIRM                                                                                                                      Kansas
$225     Paul D. Lundberg      Partner         Sioux City,     Class Action/MDL   2019
                                                                                         SAEED & LITTLE
                                               Iowa
                                                                                         $200    David Miller           Partner        Indianapolis,     Class Action/MDL   2019
MARTIN, BROWNE, HULL & HARPER                                                                                                          Indiana
$275     Steven McCready       Partner         Springfield,    Class Action/MDL   2019
                                                                                         SCHIRGER, KIRK, MCDOUGALL & WINZELER
                                               Ohio
                                                                                         $350    Taja Winzeler          Partner        Rockford,         Class Action/MDL   2019
$275     Richard Heil Jr.      Partner         Springfield,    Class Action/MDL   2019
                                                                                                                                       Illinois
                                               Ohio
                                                                                         $350    Michael J. Schirger    Partner        Rockford,         Class Action/MDL   2019
$275     Gregory Flax          Partner         Springfield,    Class Action/MDL   2019
                                                                                                                                       Illinois
                                               Ohio
$100     Brenda Rushing        Paralegal       Springfield,    Class Action/MDL   2019   SEEGER WEISS
                                               Ohio
                                                                                         $985    Christopher Seeger     Partner        New York          Class Action/MDL   2019
MCCULLEY MCCLUER                                                                         $975    Stephen Weiss          Partner        New York          Class Action/MDL   2019
$750     R. Bryant McCulley    Partner         Charleston,    Class Action/MDL    2019   $975    David Buchanan         Partner        New York          Class Action/MDL   2019
                                               South Carolina                            $925    Dion Kekatos           Partner        New York          Class Action/MDL   2019
$725     Stuart H. McCluer     Partner         Charleston,    Class Action/MDL    2019   $895    TerriAnne              Partner        New York          Class Action/MDL   2019
                                               South Carolina                                    Benedetto
$550     Frank B. Ulmer        Of Counsel      Charleston,    Class Action/MDL    2019   $850    Moshe Horn             Partner        New York          Class Action/MDL   2019
                                               South Carolina
                                                                                         $775    Jim O'Brien            Counsel        New York          Class Action/MDL   2019
$250     Justin Bouchard       Associate       Charleston,    Class Action/MDL    2019
                                               South Carolina                            $775    Asa Danes              Associate      New York          Class Action/MDL   2019
                                                                                         $750    Eric Jaso              Partner        New York          Class Action/MDL   2019
MILBERG TADLER PHILLIPS GROSSMAN                                                         $500    Haile DeBass Jr.       Associate      New York          Class Action/MDL   2019
$875     Peggy Wedgworth       Partner         Denver          Class Action/MDL   2019   $450    Laura Muldowney        Associate      New York          Class Action/MDL   2019
$800     Paul Novak            Partner         Denver          Class Action/MDL   2019   $375    Kseniya Lezhnev        Associate      New York          Class Action/MDL   2019
$400     John Hughes           Associate       Denver          Class Action/MDL   2019   $295    Scott Siegel           Paralegal      New York          Class Action/MDL   2019
$360     Paul McVoy            Litigation      Denver          Class Action/MDL   2019   $295    Daniel Mora            Paralegal      New York          Class Action/MDL   2019
                               Support
                                                                                         $295    Christine Essler       Paralegal      New York          Class Action/MDL   2019
$350     Diana Gjonaj          Associate       Denver          Class Action/MDL   2019
                                                                                         $215    Sabrina Tyjer          Paralegal      New York          Class Action/MDL   2019
$300     Christine Porras      Litigation      Denver          Class Action/MDL   2019
                               Support                                                   $215    Darryl Bailey          Paralegal      New York          Class Action/MDL   2019

$225     Peter Chevere         Litigation      Denver          Class Action/MDL   2019   $215    Corey Madin            Paralegal      New York          Class Action/MDL   2019
                               Support                                                   $215    Antoine Barzey         Paralegal      New York          Class Action/MDL   2019
                                                                                         $150    Maxwell Goins          LawClerk       New York          Class Action/MDL   2019
OLINSKY LAW GROUP
$195     Howard D. Olinsky     Attorney        Syracus, New    Social Security    2019   SIMMONS HANLY CONROY
                                               York            Disability                $950    Paul Hanly             Partner        New York          Class Action/MDL   2019
PACHULSKI STANG ZIEHL & JONES                                                            $950    Jayne Conroy           Partner        New York          Class Action/MDL   2019
$1,145   Robert J. Feinstein   Managing        New York        Bankruptcy         2019   $950    Andrea Bierstein       Partner        New York          Class Action/MDL   2019
                               Partner                                                   $400    Ellyn Hurd             Associate      New York          Class Action/MDL   2019
$1,095 Ira D. Kharasch         Partner         Los Angeles     Bankruptcy         2019
                                                                                         SNEED LANG
$1,095 Alan J. Kornfeld        Partner         Los Angeles;    Bankruptcy         2019
                                               New York                                  $400    Mark Waller            Partner        Tulsa,            Class Action/MDL   2019
                                                                                                                                       Oklahoma
$1,050 Debra I. Grassgreen Partner             San Francisco   Bankruptcy         2019
                                                                                         $400    David Jorgenson        Associate      Tulsa,            Class Action/MDL   2019
$1,025 Linda F. Cantor         Partner         Los Angeles     Bankruptcy         2019                                                 Oklahoma
$1,025 Jeffrey N.              Partner         Los Angeles     Bankruptcy         2019
       Pomerantz                                                                         SOPER LEDDIN LAW FIRM
$975     Iain A. W. Nasatir    Partner         Los Angeles     Bankruptcy         2019   $295    Jerry Soper            Partner        Davenport,        Class Action/MDL   2019
$975     Bradford J. Sandler   Partner         Wilmington,     Bankruptcy         2019                                                 Iowa
                                               Delaware;
                                               New York                                  SPENCER FANE

$925     Maxim B. Litvak       Partner         San Francisco   Bankruptcy         2019   $325    Mary Bacon             Associate      Las Vegas         Federal Trade      2018
                                                                                                                                                         Commission Act
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RATE/   NAME             TITLE          CITY              PRACTICE AREA     YEAR   RATE/   NAME                  TITLE         CITY          PRACTICE AREA       YEAR
HOUR                                                                               HOUR
STINSON LEONARD STREET                                                             WALLER JORGENSON WARZYNSKI
$670    Scott Roberts    Partner        Decatur,         Class Action/MDL   2019   $400    Mark A. Waller        Shareholder   Tulsa,        Class Action/MDL    2019
                                        Illinois                                                                               Oklahoma
$590    Joel Leviton     Partner        Minneapolis      Class Action/MDL   2019
                                                                                   WELLER, GREEN, TOUPS & TERRELL
THRASH LAW FIRM                                                                    $725    Mitchell A. Toups     Partner       Beaumont,     Class Action/MDL    2019
$850    Thomas Thrash    Partner        Little Rock,     Class Action/MDL   2019                                               Texas
                                        Arkansas                                   $125    Laura Castille        Paralegal     Beaumont,     Class Action/MDL    2019
$700    Marcus Bozeman   Partner        Little Rock,     Class Action/MDL   2019                                               Texas
                                        Arkansas
                                                                                   WESTERFIELD, JANOUSH & BELL
WADLER, PERCHES, HUNDL & KERLICK                                                   $400    Warren Bell           Partner       Cleveland,    Class Action/MDL    2019
$250    Ray Kerlick      Partner        Wharton,         Class Action/MDL   2019                                               Mississippi
                                        Texas
                                                                                   WEXLER WALLACE
$200    Kari Lutringer   Associate      Wharton,         Class Action/MDL   2019
                                        Texas                                      $850    Kenneth A. Wexler     Partner       Chicago       Class Action/MDL    2019

$195    Audra Smith      Associate      Wharton,         Class Action/MDL   2019   $675    Justin N. Boley       Partner       Chicago       Class Action/MDL    2019
                                        Texas                                      $275    Rose Campo            Paralegal     Chicago       Class Action/MDL    2019
$105    Laura Chapa      Paralegal      Wharton,         Class Action/MDL   2019
                                                                                   ZIMMERMAN REED
                                        Texas
                                                                                   $900    Charles S.            Partner       Minneapolis   Class Action/MDL    2019
WAGNER REESE                                                                               Zimmerman
$700    Steve Wagner     Partner        Carmel,          Class Action/MDL   2019   $795    Hart L. Robinovitch   Partner       Scottsdale,   Class Action/MDL    2019
                                        Indiana                                                                                Arizona
$700    Jason Reese      Partner        Carmel,          Class Action/MDL   2019   $595    David M.              Partner       Minneapolis   Class Action/MDL    2019
                                        Indiana                                            Cialkowski
$100    Jessie Wolfe     Paralegal      Carmel,          Class Action/MDL   2019   $505    Caleb L. Marker       Partner       Los Angeles   Class Action/MDL    2019
                                        Indiana                                    $375    Bradley C. Buhrow     Associate     Minneapolis   Class Action/MDL    2019
$100    Jamie Polk       Paralegal      Carmel,          Class Action/MDL   2019   $375    Alyssa J. Leary       Associate     Minneapolis   Class Action/MDL    2019
                                        Indiana
                                                                                   $275    Sabine A. King        Paralegal     Minneapolis   Class Action/MDL    2019
                                                                                   $275    Karen M. Colt         Paralegal     Minneapolis   Class Action/MDL    2019
                                                                                   $150    Leslie A. Harms       Paralegal     Scottsdale,   Class Action/MDL    2019
                                                                                                                               Arizona
                                                                                   $150    Heidi S. Cuppy        Paralegal     Minneapolis   Class Action/MDL    2019
